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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                          Plaintiff,          )
                                              )
                     v.                       )    No. 1:18-cr-00326-JPH-DML
                                              )
CHARLES D. WECHSLER,                          ) -01
                                              )
                          Defendant.          )

               ORDER GRANTING IN FORMA PAUPERIS STATUS

       Mr. Wechsler’s motion to proceed in forma pauperis, dkt. [77], is

 GRANTED. See 28 U.S.C. § 1915(a); see Thomas v. Zatecky, 712 F.3d 1004,

 1005 (7th Cir. 2013) ("[T]he possibility of litigating in forma pauperis—applies to

 'any suit, action or proceeding, civil or criminal, or appeal therein'"). While in

 forma pauperis status allows Mr. Wechsler to proceed without prepayment of

 fees, he remains liable for the full fees. See Ross v. Roman Catholic Archdiocese

 of Chicago, 748 F. App’x 64, 65 (7th Cir. Jan. 15, 2019) ("Under 28 U.S.C. §

 1915(a), a district court may allow a litigant to proceed 'without prepayment of

 fees,' . . . but not without ever paying fees."). No payment is due at this time.

 SO ORDERED.
 Date: 10/20/2020




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